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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

TERRY ALBEE, individually and on
behalf of all persons similarly situated,

                      Plaintiff,
                                                   Civil Action No.:
             v.                                              2:15-cv-09149-JWL-KGG

CLEVELAND INTEGRITY SERVICES,
INC.,

                      Defendant.


                        NOTICE OF VOLUNTARY DISMISSAL
                       PURSUANT TO FED R. CIV. P. 41(a)(1)(A)(i)

       Pursuant to FED. R. CIV. P. 41(a)(1)(A)(i), Plaintiff Terry Albee (“Plaintiff”), through his

undersigned counsel, hereby gives notice that the above-captioned action is voluntarily

dismissed without prejudice against Defendant Cleveland Integrity Services, Inc. (“Defendant”).



Dated: October 19, 2015                              Respectfully submitted,


                                                     /s/ Eric L. Dirks
                                                     Eric L. Dirks (D. Kan. 77996)
                                                     Williams Dirks Dameron, LLC
                                                     1100 Main Street, Suite 2600
                                                     Kansas City, Missouri 64105
                                                     Telephone: (816) 876-2600
                                                     Facsimile: (816) 221-8763
                                                     Email: dirks@williamsdirks.com

                                                     Shanon J. Carson*
                                                     Sarah R. Schalman-Bergen*
                                                     Alexandra K. Piazza*
                                                     Berger & Montague, P.C.
                                                     1622 Locust Street
                                                     Philadelphia, PA 19103
                                                     Telephone: (215) 875-3000
                                                     Facsimile: (215) 875-4604
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                                    Email: scarson@bm.net
                                           sschalman-bergen@bm.net
                                           apiazza@bm.net

                                    *Admitted pro hac vice.

                                    Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of October, 2015 a copy of the foregoing NOTICE

OF VOLUNTARY DISMISSAL PURSUANT TO FED R. CIV. P. 41(a)(1)(A)(i)

has been filed on the ECF docket and is available for viewing and download.


                                                   By:    /s Eric L. Dirks
                                                            Eric L. Dirks




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